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 8   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
 9
                             UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,               No.    5:21-mj-00229
12
                Plaintiff,                   GOVERNMENT’S NOTICE OF REQUEST FOR
13                                           DETENTION
                      v.
14
     MIREYA RAMOS,
15
                Defendant.
16

17
          Plaintiff, United States of America, by and through its counsel
18
     of record, hereby requests detention of defendant and gives notice of
19
     the following material factors:
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          1.    Temporary 10-day Detention Requested (§ 3142(d)) on the
21
                following grounds:
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               a.    present offense committed while defendant was on release
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                     pending (felony trial),
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               b.    defendant is an alien not lawfully admitted for
25
                     permanent residence; and
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27
               c.    defendant may flee; or
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 1             d.    pose a danger to another or the community.

 2        2.    Pretrial Detention Requested (§ 3142(e)) because no

 3              condition or combination of conditions will reasonably

 4              assure:

 5              a.    the appearance of the defendant as required;
 6              b.    safety of any other person and the community.
 7        3.    Detention Requested Pending Supervised Release/Probation
 8              Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.
 9              § 3143(a)):
10              a.    defendant cannot establish by clear and convincing
11                    evidence that he/she will not pose a danger to any
12                    other person or to the community;
13              b.    defendant cannot establish by clear and convincing
14                    evidence that he/she will not flee.
15        4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.
16              § 3142(e)):
17              a.    Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)
18                    (46 U.S.C. App. 1901 et seq.) offense with 10-year or
19                    greater maximum penalty (presumption of danger to
20                    community and flight risk);
21              b.    offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or
22                    2332b(g)(5)(B) with 10-year or greater maximum penalty
23                    (presumption of danger to community and flight risk);
24              c.    offense involving a minor victim under 18 U.S.C.
25                    §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
26                    2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),
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                                          2
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 1                   2260, 2421, 2422, 2423 or 2425 (presumption of danger

 2                   to community and flight risk);

 3             d.    defendant currently charged with an offense described

 4                   in paragraph 5a - 5e below, AND defendant was

 5                   previously convicted of an offense described in
 6                   paragraph 5a - 5e below (whether Federal or
 7                   State/local), AND that previous offense was committed
 8                   while defendant was on release pending trial, AND the
 9                   current offense was committed within five years of
10                   conviction or release from prison on the above-
11                   described previous conviction (presumption of danger to
12                   community).
13        5.   Government Is Entitled to Detention Hearing Under § 3142(f)
14             If the Case Involves:
15             a.    a crime of violence (as defined in 18 U.S.C.
16                   § 3156(a)(4)) or Federal crime of terrorism (as defined
17                   in 18 U.S.C. § 2332b(g)(5)(B)) for which maximum
18                   sentence is 10 years’ imprisonment or more;
19             b.    an offense for which maximum sentence is life
20                   imprisonment or death;
21             c.    Title 21 or MDLEA offense for which maximum sentence is
22                   10 years’ imprisonment or more;
23             d.    any felony if defendant has two or more convictions for
24                   a crime set forth in a-c above or for an offense under
25                   state or local law that would qualify under a, b, or c
26                   if federal jurisdiction were present, or a combination
27                   or such offenses;
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                                          3
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 1             e.    any felony not otherwise a crime of violence that

 2                   involves a minor victim or the possession or use of a

 3                   firearm or destructive device (as defined in 18 U.S.C.

 4                   § 921), or any other dangerous weapon, or involves a

 5                   failure to register under 18 U.S.C. § 2250;

 6             f.    serious risk defendant will flee;
 7             g.    serious risk defendant will (obstruct or attempt to
 8                   obstruct justice) or (threaten, injure, or intimidate
 9                   prospective witness or juror, or attempt to do so).
10        6.   Government requests continuance of _____ days for detention
11             hearing under § 3142(f) and based upon the following
12             reason(s):
13

14

15

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17   //
18   //
19   //
20   //
21   //
22   //
23   //
24   //
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27   //
28   //
                                          4
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 1        7.   Good cause for continuance in excess of three days exists in

 2             that:

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 5

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 7

 8   Dated: March 31, 2021                Respectfully submitted,
 9                                        NICOLA T. HANNA
                                          United States Attorney
10
                                          BRANDON D. FOX
11                                        Assistant United States Attorney
                                          Chief, Criminal Division
12

13                                              /s/
                                          BYRON R. TUYAY
14                                        Assistant United States Attorney
15                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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